                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                                  CRIMINAL NO. 3:04CR33


UNITED STATES OF AMERICA                      )
                                              )
                                              )
               VS.                            )               ORDER
                                              )
                                              )
JEFFREY INMAN                                 )
                                              )


       THIS MATTER is before the Court on a handwritten pleading mailed to the attention of

the law clerk for the undersigned. The Court will direct the Clerk file the “brief.”

       On April 28, 2005, the Court ordered that a letter written by the Defendant to his court-

appointed counsel which contained a threat be filed of record in this case. Order, filed April 28,

2005. It was also ordered that the Defendant’s sentencing hearing would be postponed pending

the resolution of his motion, and that of his attorney, for substitution of counsel. Id. After

having reviewed that Order, the Defendant now states the following:

       The letter I mailed to Julia G. Mimms [his attorney] on April 21, 2005 was
       formulated to reveal what I know about the applicable cases, as well as obtain
       Julia G. Mimms, that letter was not a threat, it was to constructed to lure Julia G.
       Mimms into a position to file a motion to withdraw. During Julia G. Mimms
       forced hand, she made a visible mistake with violating the attorney/client
       confidential privilege. The letter was not a direct threat to Julia G. Mimms, nor
       an indirect. . . . I did not contact the North Carolina State Bar about Julia G.
       Mimms issues with myself, I made that false statement to see if Julia G. Mimms
       was going to be spiteful, which I succeeded in doing. I was not upset with Julia
       G. Mimms, my main concern was to establish a record revealing ineffective
       assistance of counsel . . . .
                                                  ...
       I suggest that my case be put on the June 2005 term for the following reasons: 1)
       My Sixth Amendment right to “assistance of counsel” can be saved by permitting



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       Julia G. Mimms to be present during the sentencing hearing so I can utilize her
       knowledge of legal lingo and various rules of criminal procedure. 2) The problem
       lies before Julia G. Mimms was appointed to represent me in the last stages of
       these proceedings. . . . 3) It will also save the court valuable time by proceeding
       with the sentencing phase instead of inquiring about an issue that the Court of
       Appeals will handle. . . . 4) I am prepared to stand for sentencing. I suggest that
       Julia G. Mimms motion to withdraw be denied due to the 4 reasons I listed above.
       A written apology will be mailed to Julia G. Mimms when the submitted motion
       is denied. . . . Let the record show that I am against Julia G. Mimms motion to
       withdraw.

Defendant’s Brief on Pending Hearing, filed May 6, 2005.

       It is first noted that Ms. Mimms did not violate attorney-client privilege because it was

the Court which ordered the filing of the letter which the Defendant sent to her. It is next noted

that the Defendant has now admitted that he has not received ineffective assistance of counsel

from Ms. Mimms and requests that she continue as his attorney.

       Despite the Defendant’s admissions that he has been attempting to manipulate his

attorney and the judicial system, his allegations have raised issues which must be addressed at a

hearing. As a result, the terms of the previous Order of April 28, 2005, remain in force.

       IT IS, THEREFORE, ORDERED that the Clerk of Court shall file the Defendant’s

“Brief on Pending Hearing” in the record and provide a copy to the Defendant’s attorney.




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                        Signed: May 10, 2005




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